Case 1:24-cv-11614-AK Document 1-3 Filed 06/24/24 Page 1 of 14




             EXHIBIT A
                      Case 1:24-cv-11614-AK Document 1-3 Filed 06/24/24 Page 2 of 14
                                                         CIVIL DOCKET NO.
                                                                                         Trial Court of Massachusetts
                   Summons
                                                                                         The Superior Court
                                                    a~~kC\ß o \? ~.~—
CASE NAME:
                                                                                         John E. Powers III            cierk oi
                 ~LIC~tGIf.`        ~         ~C~
                                                                                                                       County
                                                                                         Suffolk
                                                                                         COURT NAME & ADDRESS:
                                                            Plaintiff(s)
                                                                                        Suffolk Superior Civil Court
                                        vs.
                                                                         u     Cu .     Three Pemberton Square
                             e,U -~u oL ~~\-2\\                                         Boston, MA. 02108
                                   P~
Far Gt-~ l~~s.~ N ►'k ~k C- !~1'~- 4~~~                       r            Crz.r
                                                          Defendant(s)




                                                                                                         ~ + ~ ~_
                                                                               \,~~,~          e I •~~
                                                                                         ~,I~ ~~~~
             THIS SUMMONS IS DIRECTED TOT—Dtk                        .                             (Defendant's name)

                                                    C~a~IL
  You are being sued. The Plaintiff(s) named above has started a lawsuit against you. A copy of the Plaintiffs Complaint filed
 against you is attached to this Summons and the original Complaint has been filed in the                                         Court.
                                  YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.


1. You must respond to this Iawsuit in writing within 20 days.
If'you do not respond, the Court may decide the case against you and award the Plaintiff everything asked for in the Complaint.
You will also lose the opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you expect to
 resolve this matter with the Plaintiff. If you need more time to respond, you may request an extension of time in writing
 from the Court.

2. How to Respond.
 To respond to this lawsuit, you must file a written response with the Cour` and mail a copy to the Plaintiffs attorney (or the
Plaintiff, if unrepresented). You can do this by:

         a) Filing your signed original response with the Clerk's Office for Civil Business,                               Court
                                                            (address), by mail, in person, or electronically through
             the web portal www.eFileMA.com if the Complaint was e-filed through that portal, AND


         b) Delivering or mailing a copy of your response to the Plaintiffs attorney/Plaintiff at the following address:



 3. what to Include in Your Response.
 An "Answer" is one type of response to a Complaint. Your Answer must state whether you agree or disagree with the fact(s)
 alleged in each paragraph of the Complaint. Some defenses, called affirmative defenses, must be stated in your Answer or
 you may lose your right to use them in Court. If you have any claims against the Plaintiff (referred to as "counterclaims") that
 are based on the same facts or transaction described in the Complaint, then you must include those claims in your Answer.
 Otherwise, you may lose your right to sue the Plaintiff about anything related to this lawsuit. If you want to have your case
 heard by a jury, you must specifically request a jury trial in your Court no more than 10 days after sending your Answer.
                     Case 1:24-cv-11614-AK Document 1-3 Filed 06/24/24 Page 3 of 14




3. (cont.) Another way to respond to a Complaint is by filing a "Motion to Dismiss," if you believe that the Complaint is
legally invalid or Iegally insufficient. A Motion to Dismiss must be based on one of the legal deficiencies
                                                                                                              or reasons listed
 under Rule 12 of the Massachusetts Rules of Civil Procedure. If you are filing a Motion to Dismiss, you must follow
the filing rules for "Civil Motions in Superior Court," available at:
                                 www.mass.gov/law-Iibrary/massachusetts-superior-court-rules

4. Lega9 Assistance.
You may wish to get legal help from a lawyer. If you cannot get legal help, some basic information for people
                                                                                                                   who represent
themselves is available at www.mass.gov/courts/selfhelp.

5. Required Information on All Filings.
The "Civil Docket No." appearing at the top of this notice is. the case number assigned to this case and must appear
                                                                                                                           on the
front of your Answer or Motion to Dismiss. You should refer to yourself as the "Defendant."

        Witness Hon. Michael D. Ricciuti               , Chief Justice on                              , 20         .(Seal)

Acting Clerk

  Note: The docket number assigned to the original Complaint by the Clerk should be stated on this
                                                                                                   Summons before it is
        served on the Defendant(s).



                                                PROOF OF SERVICE OF PROCESS


I hereby certify that on                      , I served a copy of this Summons, together with a copy of the Complaint
in this action, on the Defendant named in this Summons, in the following manner (See Rule 4(d)(1-5) of
                                                                                                       the Massachusetts
Rules of Civil Procedure):
  U       2                                 d                   Ul
   Ç            V\ ~ C_e ~_r~ ~ •


           Dated:                       '         ~ `"1
                                                                            Signature:




N.B.   TO PROCESS SERVER:
PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX - BOTH ON
                                                                                                      THE ORIGINAL
SUMMONS AND ON THE COPY OF THE SUMMONS SERVED ON THE DEFENDANT.



                                                                                         Date:


                                                                                                                 rev. 1/2023
                             Case 1:24-cv-11614-AK Document 1-3 Filed 06/24/24 Page 4 of 14

                                                             DOCKETNUMBER
                                                                                      Trial Court of Massachusetts
           CIVIL TRACKING ORDER
                (STANDING ORDER 1- 88)                       2484CV01347              The Superior Court
CASE NAME:
                                                                                      John E. Powers III, Acting Clerkof Court
      Scott, Michael vs. The Bank Of NY Mellon Trust Company
                                                                                      Suffolk County Civil
TO:                                                                               COURT NAME & ADDRESS
       Mlchael SCott
                                                                                       Suffolk County Superior Court - Civil
       No addresses available
                                                                                       Suffolk County Courthouse, 12th Floor
                                                                                       Three Pemberton Square        •
                                                                                       Boston, MA 02108


                                                       TRACKING ORDER - X - Accelerated
                 You are hereby notified that this case is on the track referenced above as per Superior Court Standing
    Order 1=88. The order requires that the various stages of litigation described below must be completed not later
   than the deadlines indicated.                                                  '


                  STAGES OF LITIGATION                                                    DEADLINE

                                                                               SERVED BY         FILED BY             . HEARD BY

      Service of process made and return filed with the Court                                    08/20/2024       S               '



      Response to the complaint filed (also see MRCP 12)                                        05/22/2025

      All motions under MRCP 12, 19, and 20

      All motions under MRCP 15

      AII discovery requests and depositions served and non-expert
      depositions completed                   ,                                                                           •

      AII motions under MRCP 56                                                                                           <:-

      Final pre-trial conference held and/or firm trial date set

      Case shall be resolved and judgment shall issue by




  The final pre-trial deadline is not the scheduled date of the conference. You will be notified of that date at a later time.
  Counsel for plaintiff must serve this tracking order on defendant before the deadline for filing return of service.
  This.case is assigned to



 DATEISSUED                         ASSISTANT CLERK                                                      'PHONE

      05/22/2024                       Melissa Doris     •                                                    (617)788-8107
DateTimePnnted:05-22-202408:36:48                                                                                               SCV0261 082018
        Case 1:24-cv-11614-AK Document 1-3 Filed 06/24/24 Page 5 of 14




                  COMMONWEALTH OF MASSACHUSETTS


                                 SUPERIOR COURT


SUFFOLK, ss                                                           Civil Action No.


MICHAEL DAVID SCOTT                                                   COMPLAINT.
v.
THE BANK OF NY MELLON TRUST
COMPANY, N.A. AS SUCCESSOR-IN-INTEREST
TO ALL PERMITTED SUCCESSORS AND ASSIGNS
OF JP MORGAN CHASE BANK N.A. AS TRUSTEE
, FOR CERTIFICATE HOLDERS OF NOMURA ASSET
ACCEPTANCE CORPORATION, MORTGAGE PASS-THROUGH
CERTIFICATES, SERIES 2005-AR2,
       Defendants




                            PRELIMINARY STATEMENT


       Now comes Michael David Scott, asking that the court finds that The Bank Of NY
Mellon Trust Company, N.A. AS Successor-In-Interst to A11 Permitted Successors and Assigns
Of JP Morgan Chase Bank N.A. As Trustee, For Certificate Holders Of Nomura Asset
Acceptance Corporation, Mortgage Pass-Through Certificates, Series 2005-AR2, ("BONY"),
("The Bank OF New York") is: (1)Not the legitimate mortgage holder (2) that BONY does not
have possession of the original note, (1) that BONY violated M.G.L 93A when it initiated
foreclosure proceedings against on the property at 6 Erick Road #52, Mansfield MA, 02048.
    Case 1:24-cv-11614-AK Document 1-3 Filed 06/24/24 Page 6 of 14




          The actions of BONY have caused Mr. Scott significant harm, as BONY is
   attempting to evict his 96-year-old disabled mother and his aunt, they have also refused
   to modify the loan and have invalidated every attempt to resolve the delinquency.


                                              PARTIES

1. Michael Scott owns the property at 6 Ericic Road #52 Mansfield MA, 02048.
2. The Bank Of NY Mellon Trust Company, N.A. AS Successor-In-Interst to All Permitted
   Successors and Assigns Of JP Morgan Chase Bank N.A. As Trustee, For Certificate
   Holders Of Nomura Asset Acceptance Corporation, Mortgage Pass-Through
   Certificates, Series 2005-AR2, is claiming to be the holder of the original note and
   mortgage.



                                        FACTS

1. Mr. Scotts gave a mortgage to Gateway Funding Diversified Mortgage Service, LP on
   the property at 6 Erick Road# 52 Mansfield, MA, on January 10, 2005

2. On August 4, 2009, Mortgage Electronic Registration Systems, Inc. P.O. Box 2026
   assigned the mortgage to The Bank of New York Mellon Trust Company A, fka The Bank
   of New York Trust Company, NA as Successor in interest to JP Morgan Chas Bank, NA,
   as Trustee for Nomura Asset Acceptance Corporation, Alternative Loan Trust Series
   2005-AR2,.
3. On September 27, 2012, a confirmatory assignment was filed in the Taunton registry of
   deeds that: The Bank of New York Mellon Trust Company NA, fka The Bank Of New
   York Trust Company, NA as Successor in interest to JP Morgan Chase Bank, NA as
   Trustee for NAAC, Mortgage Pass-through Certificate Series Trust Series 2005- AR2
   was the holder of the mortgage—book 20485 Pg. 97.
4. On February 15, 2013, an assignment was filed that The Bank of New York Mellon Trust
   Company NA, F/K/A The Bank Of New York Trust Company, NA as Successor in interest
   to JP Morgan Chase Bank, NA as Trustee for NAAC Mortgage Pass-through Certificate
   Series Trust Series 2005- AR2 was the holder of the mortgage, book 20843 pg. 144, and
   the mortgage was assigned to The Bank of New York Mellon Trust Company N.A., F/K/A
   The Bank of New York Trust Company N.A. As Successor In Interest JP Morgan Chase
   Bank N. A., For Certificate holders Of Nomura Asset Acceptance, Corporation Mortgage
   Pass-Through Certificates, Series 2005-AR2 -
5. On January 9, 2017, The Bank of New York Mellon Trust Company, N. A. F/K/A The
   Bank Of New York Trust Company N.A. as Successor In Interest to JP Morgan Chase
   Bank. N.A. For certificate holders Of Nomura Asset Acceptance Corporation Mortgage
   Pass-Through Certificates, Series 2005-AR2. Successor in interest successors and assigns
   of JP Morgan Chase Bank N. A. as Trustee, For Certificate Holders Of Nomura Asset
   Acceptance Corporation, Mortgage Pass-Through Certificates, Series 2005-AR2 was the
   holder of the mortgage- book 14426 page 310.
         Case 1:24-cv-11614-AK Document 1-3 Filed 06/24/24 Page 7 of 14




   6. On November 2, 2016, U, S. Bank filed an affidavit under MGLc. 244sec. 35c in the
      Taunton Registry, stating that it was the note holder of the note. The affidavit is recorded
      in book: 23369 Pg142.
   7. On July 31, 2023, an Order of Notice was filed in the Taunton of registry of deeds
      stating that "The Bank of New York Mellon Trust Company, N.A. . as successor -in
      interest to all permitted successors and assigns of JP Morgan Chase Bank N.A. as
      Trustee, for certificate holders of Nomura Asset Acceptance Corporation, Mortgage
      Certificates, Series 2005-AR2, was the holder of the mortgage book 14426 Pg. 310.


                                  CAUSES OF ACTION
                                      COUNT 1-
                     AGAINST THE BANK OF NEW YORK MELLON TRUST
        The Bank Of NY Mellon Trust Company, N.A. AS Successor-In-Interst to All Permitted
Successors and Assigns Of JP Morgan Chase Bank N.A. As Trustee, For Certificate Holders Of
Nomura Asset Acceptance Corporation, Mortgage Pass-Through Certificates, Series 2005-AR2,
not the holder of the original wet ink note.
                                      COUNT 2-
                     AGAINST THE BANK OF NEW YORK MELLON TRUST
        The Bank Of NY Mellon Trust Company, N.A. AS Successor-In-Interst to Al1 Permitted
Successors and Assigns Of JP Morgan Chase Bank N.A. As Trustee, For Certificate Holders Of
Nomura Asset Acceptance Corporation, Mortgage Pass-Through Certificates, Series 2005-AR2,
not the holder of the mortgage.

                                  COUNT 3- M,G.L. 93A
                     AGAINST THE BANK OF NEW YORK MELLON TRUST
        The Bank Of NY Mellon Trust Company, N.A. as Successor-In-Interst to All Permitted
Successors and Assigns Of JP Morgan Chase Bank N.A. As Trustee, For Certificate Holders Of
Nomura Asset Acceptance Corporation, Mortgage Pass-Through Certificates, Series 2005-AR2,
violated M.G.L. 93A, based on its deceptive practice of purporting to be the note and mortgage
holder. Their action caused irreparable harm and emotional distress.
                                              PRAYER
Wherefore that plaintiff asks that a trial by jury be held and that the jury finds that:
1. That The Bank Of NY Mellon Trust Company, N.A. as Successor-In-Interst to A11 Permitted
   Successors and Assigns Of JP Morgan Chase Bank N.A. As Trustee, For Certificate Holders
   Of Nomura Asset Acceptance Corporation, Mortgage Pass-Through Certificates, Series
   2005-AR2, is not the holder of the note.
2. The Bank Of NY Mellon Trust Company, N.A. as Successor-In-Interst to All Permitted
   Successors and Assigns Of JP Morgan Chase Bank N.A. As Trustee, Certificate Holders Of
   Nomura Asset Acceptance Corporation, Mortgage Pass-Through Certificates, Series 2005-
   AR2, is not the holder of the mortgage.
        Case 1:24-cv-11614-AK Document 1-3 Filed 06/24/24 Page 8 of 14




3. The Bank Of NY Mellon Trust Company, N.A. as Successor-In-Interst to A11 Permitted
   Successors and Assigns Of JP Morgan Chase Bank N.A. As Trustee, For Certificate Holders
   Of Nomura Asset Acceptance Corporation, Mortgage Pass-Through Certificates, Series
   2005-AR2, violated M.G.L 93A, when it purported to be the note and mortgage holder,
   causing excessive harm.
   The Bank Of NY Mellon Trust Company, N.A. as Successor-In-Interst to A11 Permitted
   Successors and Assigns Of JP Morgan Chase Bank N.A. As Trustee, For Certificate Holders
   Of Nomura Asset Acceptance Corporation, Mortgage Pass-Through Certificates, Series
   2005-AR2
Respectfully Submitted,
Michael D. Scott


8 Tiffany Road
Bourne MA, 02532
May 22, 2024




                                             4
                                       Case 1:24-cv-11614-AK Document 1-3 Filed 06/24/24 Page 9 of 14

                                                                DOCKETNUMBER
                                                                                       Trial Court of Massachusetts                  '
              CIVIL TRACKING ORDER
                (STANDING ORDER 1- 88)                          2484CV01347            The Superior Court                       ~

CASE NAME:
                                                                                       John E. Powers III, Acting Clerk of Court
       Scott, Michael vs. The Bank Of NY Mellon Trust Company
                                                                                       Suffolk County Civil
TO: Michael Scott                                                                     COURT NAME 8 ADDRESS
                                                                                        Suffolk County Superior Court - Civil
        No addresses available
                                                                                        Suffolk County Courthouse, 12th Floor
                                                                                        Three Pemberton Square
                                                                                        Boston, MA 02108


                                                           TRACKING ORDER - X - Accelerated
                    You are hereby notified that this case is on the track referenced above as per Superior Court Standing
     Order 1-88. The order requires that the various stages of litigation described below must be completed not later
     than the deadlines indicated.


                     STAGES OF LITIGATION                                                  DEADLINE


                                                                                   SERVED BY      FILED BY           HEARD BY

      Service of process made and return filed with the Court                                    08/20/2024

      Response to the complaint filed (also see MRCP 12)                       .                 05/22/2025

     AII motions under MRCP 12, 19, and 20

     All motions under MRCP 15

     All discovery requests and depositions served and non-expert
     depositions completed                   .

     AII motions under MRCP 56

     Final pre-trial conference held and/or firm trial date set

     Case shall be resolved and judgment shall issue by




   The final pre-trial deadline is not the scheduled date of the conference. You will be notified of that date at a later time.
   Counsel for plaintiff must serve this tracking order on defendant before the deadline for filing return of service.
   This case is assigned to



 DATEISSUED                        l    ASSISTANT CLERK                                                      PHONE

      05/22/2024                   1       Melissa Doris                                                        (617)788-8107

Date/Time Pdnted: 05-22-2024 08:36:48                                                                                       SCV026\ 082018
         Case 1:24-cv-11614-AK Document 1-3 Filed 06/24/24 Page 10 of 14



                  COMMONWEALTH OF MASSACHUSETTS


                                 SUPERIOR COURT


SUFFOLK, ss                                                           Civil Action No.


MICHAEL DAVID SCOTT                                                   COMPLAINT.
►~~
THE BANK OF NY MELLON TRUST
COMPANY, N.A. AS SUCCESSOR-IN-INTEREST
TO ALL PERMITTED SUCCESSORS AND ASSIGNS
OF JP MORGAN CHASE BANK N.A. AS TRUSTEE
, FOR CERTIFICATE HOLDERS OF NOMURA ASSET
ACCEPTANCE CORPORATION, MORTGAGE PASS-THROUGH
CERTIFICATES, SERIES 2005-AR2,
       Defendants




                            PRELIMINARY STATEMENT


       Now comes Michael David Scott, asking that the court finds that The Bank Of NY
Mellon Trust Company, N.A. AS Successor-In-Interst to A11 Permitted Successors and Assigns
Of JP Morgan Chase Bank N.A. As Trustee, For Certificate Holders Of Nomura Asset
Acceptance Corporation, Mortgage Pass-Through Certificates, Series 2005-AR2, ("BONY"),
("The Bank OF New York") is: (1)Not the legitimate mortgage holder (2) that BONY does not
have possession of the original note, (1) that BONY violated M.G.L 93A when it initiated
foreclosure proceedings against on the property at 6 Erick Road #52, Mansfield MA, 02048.
     Case 1:24-cv-11614-AK Document 1-3 Filed 06/24/24 Page 11 of 14



          The actions of BONY have caused Mr. Scott significant harm, as BONY is
   attempting to evict his 96-year-old disabled mother and his aunt, they have also refused
   to modify the loan and have invalidated every attempt to resolve the delinquency.


                                               PARTIES

1. Michael Scott owns the property at 6 Erick Road #52 Mansfield MA, 02048.
2. The Bank Of NY Mellon Trust Company, N.A. AS Successor-In-Interst to All Permitted
   Successors and Assigns Of JP Morgan Chase Bank N.A. As Trustee, For Certificate
   Holders Of Nomura Asset Acceptance Corporation, Mortgage Pass-Through
   Certificates, Series 2005-AR2, is claiming to be the holder of the original note and
   mortgage.



                                        FACTS

1. Mr. Scotts gave a mortgage to Gateway Funding Diversified Mortgage Service, LP on
   the property at 6 Erick Road# 52 Mansfield, MA, on January 10, 2005

2. On August 4, 2009, Mortgage Electronic Registration Systems, Inc. P.O. Box 2026
   assigned the mortgage to The Bank of New York Mellon Trust Company A, fka The Bank
   of New York Trust Company, NA as Successor in interest to JP Morgan Chas Bank, NA,
   as Trustee for Nomura Asset Acceptance Corgoration, Alternative Loan Trust Series
   2005-AR2,.
3. On September 27, 2012, a confirmatory assignment was filed in the Taunton registry of
   deeds that: The Bank of New York Mellon Trust Company NA, fka The Bank Of New
   York Trust Company, NA as Successor in interest to JP Morgan Chase Bank, NA as
   Trustee for NAAC, Mortgage Pass-through Certificate Series Trust Series 2005- AR2
   was the holder of the mortgage—book 20485 Pg. 97.
4. On February 15, 2013, an assignment was filed that The Bank of New York Mellon Trust
   Company NA, F/K/A The Bank Of New York Trust Company, NA as Successor in interest
   to JP Morgan Chase Bank, NA as Trustee for NAAC Mortgage Pass-through Certificate
   Series Trust Series 2005- AR2 was the holder of the mortgage, book 20843 pg. 144, and
   the mortgage was assigned to The Bank of New York Mellon Trust Company N.A., F/K/A
   The Bank of New York Trust Company N.A. As Successor In Interest JP Morgan Chase
   Bank N. A., For Certificate holders Of Nomura Asset Acceptance, Corporation Mortgage
   Pass-Through Certificates, Series 2005-AR2 -
5. On January 9, 2017, The Bank of New York Mellon Trust Company, N. A. F/K/A The
   Bank Of New York Trust Company N.A. as Successor In Interest to JP Morgan Chase
   Bank. N.A. For certificate holders Of Nomura Asset Acceptance Corporation Mortgage
   Pass-Through Certificates, Series 2005-AR2. Successor in interest successors and assigns
   of JP Morgan Chase Bank N. A. as Trustee, For Certificate Holders Of Nomura Asset
   Acceptance Corporation, Mortgage Pass-Through Certificates, Series 2005-AR2 was the
   holder of the mortgage- book 14426 page 310.
                                           2
         Case 1:24-cv-11614-AK Document 1-3 Filed 06/24/24 Page 12 of 14



   6. On November 2, 2016, U, S. Bank filed an affidavit under MGLc. 244sec. 35c in the
      Taunton Registry, stating that it was the note holder of the note. The affidavit is recorded
      in book: 23369 Pg142.
   7. On July 31, 2023, an Order of Notice was filed in the Taunton of registry of deeds
      stating that "The Bank of New York Mellon Trust Company, N.A. . as successor -in
      interest to all permitted successors and assigns of JP Morgan Chase Bank N.A. as
      Trustee, for certificate holders of Nomura Asset Acceptance Corporation, Mortgage
      Certificates, Series 2005-AR2, was the holder of the mortgage book 14426 Pg. 310.


                                  CAUSES OF ACTION
                                      COUNT 1-
                     AGAINST THE BANK OF NEW YORK MELLON TRUST
        The Bank Of NY Mellon Trust Company, N.A. AS Successor-In-Interst to All Permitted
Successors and Assigns Of JP Morgan Chase Bank N.A. As Trustee, For Certificate Holders Of
Nomura Asset Acceptance Corporation, Mortgage Pass-Through Certificates, Series 2005-AR2,
not the holder of the original wet ink note.
                                      COUNT 2-
                     AGAINST THE BANK OF NEW YORK MELLON TRUST
        The Bank Of NY Mellon Trust Company, N.A. AS Successor-In-Interst to All Permitted
Successors and Assigns Of JP Morgan Chase Bank N.A. As Trustee, For Certificate Holders Of
Nomura Asset Acceptance Corporation, Mortgage Pass-Through Certificates, Series 2005-AR2,
not the holder of the mortgage.

                                  COUNT 3- M,G.L. 93A
                     AGAINST THE BANK OF NEW YORK MELLON TRUST
        The Bank Of NY Mellon Trust Company, N.A. as Successor-In-Interst to All Permitted
Successors and Assigns Of JP Morgan Chase Bank N.A. As Trustee, For Certificate Holders Of
Nomura Asset Acceptance Corporation, Mortgage Pass-Through Certificates, Series 2005-AR2,
violated M.G.L. 93A, based on its deceptive practice of purporting to be the note and mortgage
holder. Their action caused irreparable harm and emotional distress.
                                              PRAYER
Wherefore that plaintiff asks that a trial by jury be held and that the jury finds that:
1. That The Bank Of NY Mellon Trust Company, N.A. as Successor-In-Interst to A11 Permitted
   Successors and Assigns Of JP Morgan Chase Bank N.A. As Trustee, For Certificate Holders
   Of Nomura Asset Acceptance Corporation, Mortgage Pass-Through Certificates, Series
   2005-AR2, is not the holder of the note.
2. The Bank Of NY Mellon Trust Company, N.A. as Successor-In-Interst to All Permitted
   Successors and Assigns Of JP Morgan Chase Bank N.A. As Trustee, Certificate Holders Of
   Nomura Asset Acceptance Corporation, Mortgage Pass-Through Certificates, Series 2005-
   AR2, is not the holder of the mortgage.
        Case 1:24-cv-11614-AK Document 1-3 Filed 06/24/24 Page 13 of 14



3. The Bank Of NY Mellon Trust Company, N.A. as Successor-In-Interst to All Permitted
   Successors and Assigns Of JP Morgan Chase Bank N.A. As Trustee, For Certificate Holders
   Of Nomura Asset Acceptance Corporation, Mortgage Pass-Through Certificates, Series
   2005-AR2, violated M.G.L 93A, when it purported to be the note and mortgage holder,
   causing excessive harm.
   The Bank Of NY Mellon Trust Company, N.A. as Successor-In-Interst to All Permitted
   Successors and Assigns Of JP Morgan Chase Bank N.A. As Trustee, For Certificate Holders
   Of Nomura Asset Acceptance Corporation, Mortgage Pass-Through Certificates, Series
   2005-AR2
Respectfully Submitted,
Michael D. Scott


8 Tiffany Road
Bourne MA, 02532
May 22, 2024




                                            4
                                                            • ~ 1-3
                                Case 1:24-cv-11614-AK Document  •   Filed 06/24/24 Page 14 of 14
~    ~~~                                                    •~                  '                                         Retail                                                          U.S. POSTAGE PAID                        '
                                                                                                                                                                      I                   FCM LG ENV
                                                                                                                                                                                          BOSTON, MA 02114                         I
     ®                                                                                                                     ~                                                              MAY 22, 2024                             i
                                                                                                            '             POTTELSERYlCE6



                           S
                               r_
                                                                                                                                                            29715
                                                                                                                                                                                          $9.92
                                                                             6914 59
~~       ~~                                        9589      271~ 527C1 24~5                                        ---
                                                                                                                          RDC 99
                                                                                                                          --
                                                                                                                                                                                         R2305K138023=88
                                                                                                                                      -- -     -       --     -   -            -- -      -   --     -   ^--     -   -      ----   -1




                                                                                                                                    O~(.L
                                                                                            ~                   o




          ~,Lje   rt ♦ J   ~                                                ~       ~           ~

         der ~° o-u c /2r3r~~
                            _.c•^~ Ym   /
                                                                                                                               X~T~'v                  ~            ~ V~~~ ~V _~                            ~
                                                                                                        ♦
                                                                                                                                                                                                                    r —~
                                        ~ dd s fhe f
                                            dres
                                                                                                                                 CLL Ç                                    ~
                                                                                                                                           ~



                                                                                        •           ~               ii




                                                                                                                                       ~d12        "
                                                                                                                                     s~ d                                 ' r~            . \`
                                                                                                                                                                              ...     'c• ...  •'
                                                                                                                                                       ` ~:                                ,-           ~
                                    EUSCU5FOt1ERSUPPOSfi   ]U~i    O 102~
                                    Sli6vA'aTO:IS~~G~        Itl 1                                                                                                                         y fl (-.f.
                                                                                                                                                                                      dd~    i11e
                                                                                                                                                                                         ess
